Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 1 of 14 PageID 117



                    UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

UNITED STATES OF AMERICA ex rel.
PENELOPE THOMAS and CATHIA
GAVIN,

Plaintiffs,                                       Case No. 8:11-cv-583-T-23TBM

v.

SARASOTA PAIN ASSOCIATES, P.A.
and STEVEN Y. CHUN, M.D.,

Defendants.


                  UNITED STATES’ COMPLAINT IN INTERVENTION

        The United States of America brings this action against Sarasota Pain

Associates, P.A. (“Sarasota Pain”) and Steven Y. Chun, M.D. (“Chun”) under the False

Claims Act (“FCA”), 31 U.S.C. §§ 3729-33, and the common law to recover damages

from false claims that Sarasota Pain and Chun (collectively “Defendants”) presented to

the Medicare program. Chun is a medical doctor who owns and operates Sarasota

Pain, specializing in pain management. Defendants’ false claims arise from fraudulent

billing practices that led to the submission of false claims during the period from in or

about January 2006 through at least in or about January 2010, including claims for

payment for: (1) refills of implantable infusion pumps as if performed by a physician,

when they were performed by a nurse; (2) patient evaluation and management services

that were not rendered; (3) patient evaluation and management services billed at a

higher level of service than actually rendered; and (4) injections that were not rendered.
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 2 of 14 PageID 118



By knowingly presenting these false claims for payment, Defendants violated the FCA,

were paid by mistake, and were unjustly enriched.

I.      NATURE OF ACTION

        1.       The United States brings this action to recover treble damages and civil

penalties under the FCA and the common law theories of payment by mistake of fact

and unjust enrichment.

        2.       During the period from in or about January 2006 through at least in or

about January 2010, Defendants knowingly presented, and knowingly caused to be

presented, false and fraudulent claims to the United States for payment and approval

from Medicare. These false claims resulted in payment to Defendants of hundreds of

thousands of dollars of reimbursement that would not have been paid but for

Defendants’ misconduct.

II.     JURISDICTION AND VENUE

        3.       This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331, 1345, and 1367(a).

        4.       This Court may exercise personal jurisdiction over Defendants pursuant to

31 U.S.C. § 3732(a) and because Defendants reside and transact business in the

Middle District of Florida.

        5.       Venue is proper in the Middle District of Florida under 31 U.S.C. § 3732

and 28 U.S.C. § 1391(b) and (c) because Defendants reside and transact business in

this District.




                                               2
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 3 of 14 PageID 119



III.   PARTIES

       6.       The United States brings this action on behalf of the Department of Health

and Human Services (“HHS”) and the Centers for Medicare & Medicaid Services

(“CMS”), which administers the Medicare program, 42 U.S.C. §§ 1395 et seq.

(“Medicare”).

       7.       Plaintiffs-Relators Penelope Thomas, R.N., and Cathia Gavin, R.N., are

individuals residing in Florida. Both formerly worked for Chun and Sarasota Pain as

registered nurses.

       8.       On or about March 21, 2011, Thomas and Gavin filed an action alleging

violations of the FCA on behalf of themselves and the United States pursuant to the qui

tam provisions of the FCA, 31 U.S.C. § 3730(b)(1).

       9.       Defendant Sarasota Pain Associates, P.A. is a Florida corporation, located

at 6310 Health Park Way, Suite 320, Bradenton, Florida. Sarasota Pain moved to its

Bradenton location in 2008, after first operating in Sarasota. Sarasota Pain specializes

in pain management services, including the implantation of infusion pumps that

dispense pain medication over extended periods of time and the refilling of those

pumps.

       10.      Defendant Steven Y. Chun, M.D., is the owner of Sarasota Pain and a

physician licensed by the State of Florida. Since in or about June 2006, Chun has been

the sole practicing physician at Sarasota Pain. Chun and Sarasota Pain are health care

providers who participate in the Medicare program and submit claims for reimbursement

from the Medicare trust fund.



                                             3
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 4 of 14 PageID 120



IV.   THE FALSE CLAIMS ACT

      11.      The FCA provides for the award of treble damages and civil penalties for,

inter alia, knowingly presenting or causing the presentment of false or fraudulent claims

to the United States for payment or approval. 31 U.S.C. § 3729(a)(1)(A).

      12.      The FCA provides, in pertinent part, that a person who:

               (a)(1)(A) knowingly presents, or causes to be presented, a false or
               fraudulent claim for payment or approval; . . .
               is liable to the United States Government for a civil penalty of not less than
               $5,000 and not more than $10,000, as adjusted by the Federal Civil
               Penalties Inflation Adjustment Act of 1990 (20 U.S.C. 2461 note; Public
               Law 104-410), plus 3 times the amount of damages which the
               Government sustains because of the act of that person.

31 U.S.C. § 3729(a)(1) (internal footnote omitted).1

      13.      For purposes of the False Claims Act, the terms “knowing” and

“knowingly”:

               (A) mean that a person, with respect to information – (i) has actual
               knowledge of the information; (ii) acts in deliberate ignorance of the truth
               or falsity of the information; or (iii) acts in reckless disregard of the truth or
               falsity of the information; and
               (B) require no proof of specific intent to defraud[.]

31 U.S.C. § 3729(b)(1).

V.    THE MEDICARE PROGRAM

      14.      In 1965, Congress enacted Title XVIII of the Social Security Act, known as

the Medicare program, to pay for the health care services for certain individuals,


      1
        The FCA was amended pursuant to Public Law 111-21, 123 Stat. 1617 (2009),
the Fraud Enforcement and Recovery Act of 2009 (“FERA”), enacted May 20, 2009.
Given the nature of the claims at issue in this case, section 3729(a)(1) of the prior
statute, and section 3729(a)(1)(a) of the revised statute are both applicable here.
Section 3729(a)(1) applies to conduct that occurred before FERA’s enactment, and
section 3729(a)(1)(A) applies to conduct after FERA’s enactment.

                                                4
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 5 of 14 PageID 121



generally those who are at least sixty-five years old or disabled. HHS is the agency

responsible for administering and supervising the Medicare program, which it does

through CMS, an agency of HHS.

       15.    Medicare beneficiaries have the option of participating in the Medicare

Part B program, which provides supplementary medical insurance benefits, including,

among other things, physician and outpatient services. See 42 U.S.C. §§ 1395j, 1395k.

       16.    To assist in the administration of Medicare Part B, CMS contracts with

“carriers.” Carriers, typically insurance companies, are responsible for receiving,

processing, adjudicating, and paying Part B claims.

       17.    Effective January 2007, CMS began the transition of claims processing

from carriers to Medicare Administrative Contractors (“MACs”). 42 C.F.R. § 421.400.

Like carriers, MACs generally act on behalf of CMS to process and pay Part B claims

and perform administrative functions on a regional level. Id.

       18.    In Florida, First Coast Services Options, Inc. served as the carrier until

September 2008, at which time it was awarded a contract to serve as the MAC for the

Florida region.

       19.    Any health care provider that wants to be paid by Medicare for physician

and outpatient services has the option of participating in Medicare Part B by entering

into an agreement with CMS to become what is called a participating supplier or

participating physician. To become a participating physician, Medicare requires that the

physician apply and meet certain criteria.

       20.    If approved to participate in Medicare, a participating physician then can

claim reimbursement from the Medicare trust fund for medical services rendered to

                                             5
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 6 of 14 PageID 122



Medicare beneficiaries, including office visits and outpatient services.

       21.      To make a claim for payment under Medicare, participating physicians

submit a form called a CMS Claim Form 1500, which can be submitted electronically. If

a participating physician chooses to submit claims electronically, he is required to sign

an enrollment form agreeing, among other things, that he will be responsible for all

Medicare claims submitted to CMS himself, or by his employees or agents. By signing

the enrollment form, the applicant agrees to submit claims that are accurate, complete,

and truthful.

       22.      CMS Claim Form 1500 requires, among other things, identification of the

service provided, identification of the physician who provided the service, and a

certification that the service was medically indicated and necessary for the health of the

patient.

       23.      To identify the services provided to Medicare beneficiaries, participating

physicians use standardized numeric codes that are published annually by the

American Medical Association in a manual called the Current Procedural Terminology,

which lists the identifying codes, or “CPT codes,” along with descriptions of the medical

services that correspond with each code.

       24.      Some medical services can be performed at varying levels of service,

each of which corresponds with a different CPT code. For example, Medicare pays for

evaluation and management (“E/M”) services, commonly called office visits, based on

the level of care provided, which correlates with the severity of the condition, the

intensity of the examination, and the complexity of medical decision making. The

greater the severity of the condition, level of examination, and level of medical decision

                                              6
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 7 of 14 PageID 123



making, the higher the code and reimbursement. CPT code 99211 is the lowest level of

office visit for an established patient, and CPT code 99215 is the highest. Medicare

pays more for a visit that falls under 99215 than one that falls under 99211.

       25.     The refilling and maintenance of implantable infusion pumps can be

administered by either a non-physician, corresponding with CPT code 95990, or a

physician, corresponding with CPT code 95991. Medicare pays more if a physician

administers the refill.

       26.     On the same day that a patient receives a service such as the refilling of

an infusion pump, that patient also may require a significant, separately identifiable E/M

service above and beyond the other service. A participating physician may claim

reimbursement for the E/M service by identifying the CPT code for the E/M service

along with another identifying code called modifier 25. The E/M service still must meet

all of the requirements of the corresponding CPT code.

VI.    FALSE CLAIMS

       A.      False Claims for Upcoded Pain Pump Refills

       27.     The Defendants’ pain management practice involved the implantation of

infusion pumps that delivered pain medication over extended periods of time. Patients

with infusion pumps returned on a regular basis for the refilling of their pumps, which

typically were performed by a nurse. The Defendants “upcoded” their claims for these

refills. That is, they routinely billed Medicare for the refills as if performed by a

physician, when, in fact, they were performed by nurses.




                                               7
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 8 of 14 PageID 124



       B.     False Claims for Evaluation and Management Services

       28.    Refilling an infusion pump requires about forty to forty-five minutes and

was administered by a Sarasota Pain nurse. Chun saw the patients only upon

completion of the refills, and did not, during these brief encounters, conduct a

significant, separately identifiable examination that justified the submission of a claim for

evaluation and management. Defendants nonetheless routinely billed Medicare for a

high-level office visit, using CPT code 99214 or 99215, each time a patient visited the

office for a pump refill, in some instances adding modifier 25.

       29.    Defendants routinely billed Medicare for a high-level office visit for all of

their patients, regardless of the purpose of the visit. Thus, Defendants routinely

submitted claims for services using CPT code 99214 or 99215, when, in fact, the

services provided, if any, did not include a high-level office visit involving a detailed or

comprehensive examination to address a condition of moderate to high severity.

       C.     False Claims for Injections Not Performed

       30.    Because pain relief from medication delivered through an infusion pump is

not immediate, physicians may inject medication in a single dosage, separate from the

medication supplied through a patient’s infusion pump. Defendants billed Medicare for

injections that they did not in fact administer.

       D.     Examples of False Claims

       31.    Contemporaneously with the United States’ Complaint in Intervention, the

United States will serve on Defendants a list of claims presented to Medicare during the

period from January 2006 through April 2010. From this list, the United States derived



                                              8
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 9 of 14 PageID 125



two random samples of claims and also will serve these lists on Defendants. This

information includes, among other things, the dates of service, the services for which

payment was sought, the CPT codes corresponding with the services, the beneficiary

names, the amount of the claim, and the amount that was paid. This claims data

contains confidential patient information and thus will not be filed in the public record

with this complaint.

       32.     However, listed below are examples of claims, with identifying information

removed, that Defendants presented and caused to be presented to the United States:

    Date of Service      Beneficiary      CPT Code                   Description of Service
 5/22/2007             M.T.            95991             Refilling and maintenance of
                                                         implantable pump
 5/22/2007             M.T.            99215             Evaluation and management
 10/23/2007            W.M.            95991             Refilling and maintenance of
                                                         implantable pump
 10/23/2007            W.M.            99215             Evaluation and management
 10/23/2007            W.M.            62318             Injection
 11/14/2007            W.M.            99215             Evaluation and management
 12/13/2007            D.H.            95991             Refilling and maintenance of
                                                         implantable pump
 12/13/2007            D.H.            99215             Evaluation and management
 12/13/2007            D.H.            62318             Injection
 4/29/2008             S.D.            95991             Refilling and maintenance of
                                                         implantable pump
 4/29/2008             S.D.            99215             Evaluation and management
 6/5/2008              A.H.            95991             Refilling and maintenance of
                                                         implantable pump
 6/5/2008              A.H.            99215             Evaluation and management


                                               9
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 10 of 14 PageID 126




    Date of Service      Beneficiary      CPT Code                   Description of Service
  6/5/2008             A.H.             62318            Injection
  8/5/2008             C.M.             95991            Refilling and maintenance of
                                                         implantable pump
  8/5/2008             C.M.             99215            Evaluation and management
  8/5/2008             C.M.             62318            Injection
  10/24/2008           F.C.             99215            Evaluation and management
  2/25/2009            D.A.             95991            Refilling and maintenance of
                                                         implantable pump
  2/25/2009            D.A.             99215            Evaluation and management
  3/16/2009            V.B.             95991            Refilling and maintenance of
                                                         implantable pump
  3/16/2009            V.B.             99215            Evaluation and management
  3/19/2009            K.C.             99215            Evaluation and management
  7/28/2009            G.A.             95991            Refilling and maintenance of
                                                         implantable pump
  7/28/2009            G.A.             99215            Evaluation and management
  9/10/2009            L.A.             99215            Evaluation and management
  1/18/2010            A.W.             99215            Evaluation and management

                                FIRST CAUSE OF ACTION
                      (False Claims Act: Presentation of False Claims)
                           (31 U.S.C. § 3729(a)(1) and (a)(1)(A))

        33.    The United States realleges and incorporates by this reference all

 preceding paragraphs of this complaint as if fully set forth herein.

        34.    This is a claim for treble damages and civil penalties of $11,000 for each

 violation of the False Claims Act, 31 U.S.C. §§ 3729-33, as amended.

        35.    From in or about January 2006 through at least in or about January 2010,

 through the acts described above, Defendants and their agents and employees

                                                10
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 11 of 14 PageID 127



 knowingly presented, and caused to be presented, false and fraudulent claims for

 payment and approval to the United States, in violation of 31 U.S.C. § 3729(a)(1) and

 (a)(1)(A).

        36.    The claims for payment presented by the Defendants and their agents and

 employees include, but are not limited to:

               a.      claims for payment for refilling and maintenance of implantable

 infusion pumps as if performed by a physician, when they were performed by a non-

 physician;

               b.      claims for payment for evaluation and management services that

 were not rendered;

               c.      claims for payment for evaluation and management services at a

 higher level of service than actually rendered; and

               d.      claims for payment for injections that were not in fact administered.

        37.    Defendants presented, and caused to be presented, all of said false

 claims with actual knowledge of their falsity, or with deliberate ignorance or reckless

 disregard of the truth or falsity of the claims.

        38.    Because of Defendants’ conduct set forth in this count, the United States

 suffered actual damages in an amount to be determined.

                                SECOND CAUSE OF ACTION
                                   (Payment by Mistake)

        39.    The United States realleges and incorporates by this reference all

 preceding paragraphs of this complaint as if fully set forth herein.

        40.    This is a claim for the recovery of monies paid by the United States to

 Defendants as a result of mistaken understandings of fact.

                                               11
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 12 of 14 PageID 128



        41.     The false claims that Defendants presented to the United States

 constituted misrepresentations of material facts in that they misrepresented whether a

 service was in fact provided to patients and misrepresented the level of service provided

 to patients.

        42.     The United States, acting in reasonable reliance on the accuracy and

 truthfulness of the information contained in the claims, paid Defendants certain sums of

 money to which they were not entitled and are thus liable to account and pay such

 amounts, which are to be determined at trial, to the United States.

                                THIRD CAUSE OF ACTION
                                   (Unjust Enrichment)

        43.     The United States realleges and incorporates by this reference all

 preceding paragraphs of this complaint as if fully set forth herein.

        44.     This is a claim for the recovery of monies by which Defendants have been

 unjustly enriched.

        45.     By obtaining government funds to which they were not entitled,

 Defendants were unjustly enriched, and are liable to account for and pay for such

 amounts, or the proceeds therefrom, which are to be determined at trial, to the United

 States.

                                  PRAYER FOR RELIEF

        WHEREFORE, the United States demands and prays that judgment be entered

 in its favor against Defendants as follows:

        I.      On the First Cause of Action under the False Claims Act, for the amount of

 the United States’ damages, trebled as required by law, and such civil penalties as are

 authorized by law, together with all such further relief as may be just and proper.

                                               12
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 13 of 14 PageID 129



        II.    On the Second Cause of Action for payment by mistake, for the damages

 sustained and/or amounts by which Defendants were paid by mistake or by which

 Defendants retained illegally obtained monies, plus interest, costs, and expenses, and

 for all such further relief as may be just and proper.

        III.   On the Third Cause of Action for unjust enrichment, for the damages

 sustained and/or amounts by which Defendants were unjustly enriched or by which

 Defendants retained illegally obtained monies, plus interest, costs, and expenses, and

 for all such further relief as may be just and proper.

                                DEMAND FOR JURY TRIAL

        The United States demands a jury trial in this case.

                                                   Respectfully submitted,

                                                   ROBERT E. O'NEILL
                                                   United States Attorney


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                                              13
Case 8:11-cv-00583-SDM-TBM Document 29 Filed 11/01/12 Page 14 of 14 PageID 130



 U.S. ex rel. Thomas v. Sarasota Pain                      Case No. 8:11-cv-583-T-23TBM



                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 1, 2012, I electronically filed the foregoing

 United States’ Complaint in Intervention with the Clerk of the Court by using the

 CM/ECF system which will send a notice of electronic filing to all registered CM/ECF

 users.



                                             s/ Katherine M. Ho
                                             Katherine M. Ho
                                             Assistant United States Attorney




                                               14
